194 F.2d 709
    UNITED STATES of America, Appellant,v.SIG ELLINGSON &amp; CO., a corporation.
    No. 14393.
    United States Court of Appeals Eighth Circuit.
    Feb. 11, 1952.
    
      C. U. Landrum, U.S. Atty., and Clifford F. Hansen, Asst. U.S. Atty., St. Paul, Minn., for appellant.
      Wilson, Blethen &amp; Ogle, Mankato, Minn., and Myers &amp; Snerly, Chicago, Ill., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on stipulation of parties.
    
    